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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


UNITED STATES OF AMERICA,                )       CASE NO. 1:06CR594-38
                                         )
                        PLAINTIFF,       )       JUDGE SARA LIOI
                                         )
vs.                                      )
                                         )       ORDER ON VIOLATION OF
                                         )       CONDITIONS OF SUPERVISED
                                         )       RELEASE
ANTHONY HARRIS,                          )
                                         )
                                         )
                        DEFENDANT.       )

               A violation report was filed in this case on May 25, 2011. A superseding

violation report was filed on December 19, 2011. The Court referred this matter to

Magistrate Judge Nancy A. Vecchiarelli to conduct appropriate proceedings and to file a

Report and Recommendation. The Magistrate Judge reported that a supervised release

violation hearing was held on December 21, 2011, wherein the defendant admitted to the

following violations:

       1.      New Law Violation—On March 22, 2011, defendant was arrested by
               Cleveland Police for Drug Possession, Trafficking Offenses and
               Possessing Criminal Tools;
       2.      Failure to Report Contact with Law Enforcement—The defendant
               failed to report the above arrest;
       3.      Failure to Participate in Drug/Counseling and Testing—On February
               11, 2011, the defendant was terminated for drug counseling services
               at Community Assessment and Treatment Services (CATS) due to
               chronic non-compliance;
       4.      Failure to Report to the Probation Officer as Directed—The
               defendant missed scheduled office visits/drug tests on January 25,
               2011, February 8, 2011, February 17, 2011, March 10, 2011, March
               25, 2011, April 8, 2011 and April 21, 2011.
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               The Magistrate Judge filed a Report and Recommendation on December 21,

2011, in which the Magistrate Judge recommended that the Court find that the defendant has

violated the conditions of his supervised release.

               On January 23, 2012, the Court conducted a final hearing on the violation.

Defendant Anthony Harris was present and represented by Attorney Gretchen A.

Holderman. The United States was represented by Assistant United States Attorney

Matthew Shepherd. United States Probation Officer Robin Lafferty also participated in the

hearing. Counsel for both sides indicated to the Court that they had no objections to the

Magistrate Judge's Report and Recommendation filed on December 21, 2011. Upon review,

the Court adopts the report and recommendation of Magistrate Judge Vecchiarelli and finds

the defendant to be in violation of his terms and conditions of his supervised release.

               IT IS ORDERED that the defendant's term of supervised release is revoked

and the defendant is sentenced to the custody of the Bureau of Prisons for a term of 29

months. The Court recommends that the defendant be placed at FCI Milan. No term of

supervised release shall follow.

               IT IS SO ORDERED.



Dated: January 24, 2012
                                               HONORABLE SARA LIOI
                                               UNITED STATES DISTRICT JUDGE
